Case 1:24-cv-00252-DMT-CRH Document1 Filed 08/30/21 Page1of14

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the

Northern District of North Dakota

Civil Division

cere. _ 12 \f-cy- 214

(to be filled in by the Clerk’s Office)
Renate Postelmans

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

Jury Trial: (check one) Yes [] No

Oren Vallevik

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Renate Postelmans
Street Address P.O. Box 25
City and County St. John and Lake
State and Zip Code Indiana 46373
Telephone Number 219-743-6920
E-mail Address pamphlet04@gmail.com

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

Page | of 7
Case 1:24-cv-00252-DMT-CRH Document1 Filed 08/30/21 Page 2of14

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Defendant No. 1

Name Oren Vallevik

Job or Title (if known) owner

Street Address 1702 1s Ave. W.

City and County Williston and Williams
State and Zip Code North Dakota 58801
Telephone Number

E-mail Address (if known)

Defendant No. 2

Name

Job or Title (known)

Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if known)

Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 4

Name

Job or Title (if known)

Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address (if known)

Page 2 of 7
Case 1:24-cv-00252-DMT-CRH Document1 Filed 08/30/21 Page 3of 14

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[_] Federal question xX] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual

The plaintiff, (name) Renate Postelmans , is a citizen of the

State of (name) Indiana

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

under the laws of the State of (name) ;

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) Oren Vallevik , is a citizen of
the State of (name) North Dakota . Or is a citizen of

(foreign nation)

Page 3 of 7
Case 1:24-cv-00252-DMT-CRH Document1 Filed 08/30/21 Page 4of14

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) ;

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

$7,000,000.00. Plaintiff is suing for actual damages of $1,000,000. Pain, suffering, emotional
and mental distress that will continue to exsist for the rest of Plaintiff's natural life for,
$3,000,000.00, and Plaintiff also seeks punitive damages for $3,000,000.00. Plaintiff now
diagonised with PTSD, and has Anxiety. Plaintiff continues to have patterns of mistrust, a
problem with self-isolation, Plaintiff tried to work after this happened, but quickly grew to self-
isolate not coming out of her residence unless someone was with her for the next year and a
half. Plaintiff only went somewhere by herself a year and half later because her mother had a
heart attack and got put on full life support, otherwise would not have gone anywhere. Plaintiff
continues to have problems with this. Plaintiff is anxious and easily startled, still has fear and
mistrust issues, has had increased weight, lost intrest in pleasurable activities, has continued to
have a messed up sleep pattern, has become emotional detached from people, and Plaintiff
most of all has to face intrusive thoughts and flashbacks every single day since this happened,
occuring at least 1-3 times a day if not more.

I. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

Page 4 of 7
Case 1:24-cv-00252-DMT-CRH Document1 Filed 08/30/21 Page5of14

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

On April 9th, 2014 Renate Postelmans (Postelmans) had started working at Whispers' Gentelmen's Club, located
at 3 Main St., Williston, N.D., which was co-owned by Oren Vallevik (Vallevik), as a dancer there. Postelmans
was from Indiana, and like the other dancers that worked there, she would travel to Williston, ND to work at the
club for two or three week rotations.

Every time that Postelmans would come to Williston to work at Whispers, she would reside at the Whispers’
dancer house, provided by the club for the dancers to reside while they were working. The house being locate at
1702 1 Ave. W., Williston, N.D. Dancers were expected to pay $200 per week to rent a room in a dormitory
type setting with either one to three other dancers residing in the same room. Dancers were encouraged to stay at
the dancer house, for their safety as the club had assigned and placed someone from the club to reside there to
protect the girls, and drive them back and forth to the club to work. Vallevik was the one at the time to be
residing in the house with the girls and in charge of their safety.

On June 15t*, 2015, Postelmans had returned to Williston to work at the club, and resided in the dancer house at
the above location.

On June 28", 2015 Postelmans was asked by Oren Vallevik to go on a motorcycle ride on what Vallevik called a
bike run, something Postelmans had not done before with Vallevik. Vallevik informed Postelmans to call the
club and ask for permission to take the night off from work from the manager of Whispers, John Hinton
(Hinton).

Postelmans subsequently received permission from Hinton to take the night off and to go on the bike run with
Vallevik.

Postelmans and Vallevik, got on the bike and proceeded to DK's a bar in Williston to meet up with several
other's including Dan Vallevik (Dan, as he is Oren Vallevik's brother), a co-owner of Whispers’ with Vallevik, a
man named Damon, and another couple, as they were to join Vallevik and Postelmans on the bike run. While at
the bar each person had a drink, before they would leave and get back on their respected bikes before heading
out to another bar.

Postelmans, Vallevik, and the others then left and headed to another bar north of Williston called '29 Mile’,
where the group would be joined by John Thorpe (Thorpe), another co-owner of Whipers, Jodi Bostic (Bostic)
another dancer at Whispers, and another man who was a cutomer at Whispers, and a friend to the others. While
there the group all had a drink or two, and then headed out to the next bar. This continued as the group went to
two more bars located in Ray, ND and Epping, ND, until the group would make their final stop and finish up at a
bar called The Shop located in Williston, ND.

While at The Shop, Bostic stated that she was going to go outside to smoke, and Postelmans said that she would
go with her. This is the last thing Postelmans can remember until she became consciencously aware again, only
to find Vallevik sexually assaulting her. Postelmans saw Vallevik's head between her legs, and felt his fingers
penatrating her vagina, and being very confused.

Postelmans at this point losses consciouness again and has no memory, until she remembers herself feeling
something cold and vinyl like in texture and something conitnuely pushing into her from behind. Postelmans
very confussed and trying to figure out what was going on, where she was, or what was bumping into repeatedly
from behind, turned around.

Upon turning around Postelmans stood there in utter disbelief and horror to find Vallevik completely unclothed
and naked standing before her, with his erect penis dripping and oozing secretions down to the floor. Postelmans
looking down saw her clothing on the floor, and realized that Vallevik had been raping her.

Postelmans started yelling out in horror, "No, Oren, NO! NO! NO! NO!" With Vallevik anxiously responding
back, "Come on, Casey, Come on!" Casey being the name Postelmans danced under and was known by in
Williston. Vallevik continued to forcefully respond, "NO! DON'T STOP!NO!COME ON!"

Postelmans very sternly still in shock gave an affirmative, "NO!", and Postelmans kept repeating the words NO!
At which point, Vallevik forcefully put his hands on Postelmans and spun her back around and pushed
Postelmans' torso down bending her at her waist over, what at this point Postelmans realizes is, the massage
table in Vallevik's room that Postelmans remembers seeing from the hallway as she had passed while walking
past his room before, while Vallevik continued holding her down with his hand so Postelmans could not stand
back up. Vallevik then proceeded to reinsert his penis into Postelmans'’ vagina, as Postelmans was fighting to
stand and push herself back up, as Vallevik continued to argue with Postelmans. Postelmans kept yelling at
Vallevik, "NO!"A back-and-forth battle between Vallevik and Postelmans continued as Vallevik kept pleading
and trying to persuade Postelmans to stop fighting by saying, "NO! NO! DON'T DO THIS! COME ON CASEY

Page 5 of 7
Case 1:24-cv-00252-DMT-CRH Document1 Filed 08/30/21 Page 6of14

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

COME ON!"
(See Attachment)

Iv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

Plaintiff is seeking $7,000,000.00 from the defendant. $1,000,000.00 in actual damages due to lost wages and
the lost of an investmant that occurred where Plaintiff due to her suffering could not work lost her intrest in a
$100,000.00 racehorse where she was the soul owner and the winnings there of which have been approxiamtly
$50,000.00 that she has lost out on. Plaintiff has a difficult time in new situations and finds it difficult to find a
job due to her diagnosis of PTSD and anxitey, this will affect the Plaintiff for the rest of her life, making
providing a living for her natural life difficult. Plaintiff is seeking $3,000,000.00 in punitive damages for the
grossly intentional and negligent actions of defendant. Plaintiff is also seeking $3,000,000.00 in pain and
suffering and emotional distress. Plaintiff would also like to see charges brought against the defendant and see
him eventually on the sexual registar.

Vv. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 6- x y= CS »\
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Printed Name of Plaintiff *Renare beste mans

B. For Attorneys

Date of signing:

Page 6 of 7
Case 1:24-cv-00252-DMT-CRH Document1 Filed 08/30/21 Page 7 of 14

Pro Se | (Rev. 12/16) Complaint for a Civil Case

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code
Telephone Number
E-mail Address

Page 7 of 7
Case 1:24-cv-00252-DMT-CRH Document1 Filed 08/30/21 Page 8of 14

Attachment Ill. Statement of Claim Postelmans v. Vallevik

Postelmans was finally able to stand up, as Vallevik tried to block Postelmans from leaving. Postelmans
ducking down under Vallevik’s arm reached down for her clothes and attempted to flee the room, as
Vallevik was attempting to make it to the door before Postelmans.

Vallevik was able to extend his arm grabbing and latching onto the side of the door frame, at a level that
was chest high for Postelmans. When Postelmans’ tried to duck once again under Vallevik’s arms he
extended his foot and leg to block Postelmans and tried to wedge his body in front of Postelmans so she
couldn’t get out. Postelmans push through and wiggled herself out into the hallway and then proceeded
try to run up the stairs, but immediately, Vallevik extended his arm out and propping his body out in
front of Postelmans body from one wall going to the other wall.

Postelmans remembers looking at the size of his wrist and debated whether she should try to fight
Vallevik to get up the starts but realized instead he could really hurt her. Postelmans tried to push
through Vallevik’s body blockade several times but could not manage to get through.

Stuck at the bottom of the stairs in the basement and looking up to the side door of the house and the
light above it, located at the landing, before the stairs went up to the kitchen. Postelmans just kept
hoping that the other dancers would return home. Postelmans’ did not know what time it was but knew
they had to becoming home soon because the club closed at one in the morning.

Postelmans started trying to plead with Vallevik to just let her go, that the girls would be home soon,
anything to just to be able to get up the stair. Vallevik wouldn’t let Postelmans, and once Vallevik had to
shift his position Postelmans bolted up the stairs. Vallevik chased Postelmans. Postelmans remembers
Vallevik chasing and trying to grab onto Postelmans as she ran up the stairs.

Postelmans does not remember making it to the top of the stairs. The next thing Postelmans remembers
is having made it to the room she was staying in and frantically locking the door behind her. Feeling safe
for all about two seconds, until realizing Vallevik had a key hidden in the kitchen and could get in the
room if he had wanted to.

Postelmans started to panic and trying to figure something out. Next thing Postelmans’ remembers is
standing in the room trying to text and call both Jeffrey Dick and Adam Koenig seeking help escaping
from Vallevik.

At 12:14 a.m. cst, Postelmans text Dick:
Yonow | need u, Plrase

(You now | need you now), (Please)

At 12:26 a.m. cst, Postelmans text Koenig:
Plrase I’m tryingnro eacape
Please help. Me. Get me out ofheter

lease hel
Case 1:24-cv-00252-DMT-CRH Document1 Filed 08/30/21 Page9of14

(Please I’m trying to escape)
(Please help. Me. Get me out of here)

(Please help)

Postelmans got no response from either man and tried to escape another time.

Postelmans grabbed a bag with some stuff and decided to escape. Postelmans remembered leaving all
her other belongings, as at that moment they were dispensable and Postelmans just needed to escape
and get out of the house and away from Vallevik.

Postelmans grabbed her bag, exited the room not knowing where Vallevik was, and tried to run for the
front door. When Postelmans came around the corner of the hallway she discovered Vallevik sitting in a
chair by the front door.

Vallevik seeing that Postelmans was trying to leave looked at Postelmans and said, “Where the hell do
you think you’re going?” Postelmans responded, “I’m leaving!”

Vallevik then dashed out of his chair and blocked Postelmans from making her way out of the
hallway/kitchen/living room area. Once again Vallevik blocked Postelmans by standing in front of her
and walking towards her forcing her to back up, while putting his arms out.

Postelmans once again tried to go around Vallevik but was unable to get around.

Postelmans kept saying to Vallevik that she wanted to leave and begged Vallevik to let her go. Vallevik
would not let Postelmans go. Vallevik kept repeating to Postelmans, “Where do you think you are
going?” Whereas Postelmans tried to respond with anything she could think of to get Vallevik to get out
of her way and let her leave. Postelmans didn’t know where she was going or how she was getting
there, she just planned on somehow getting out the door and running.

Finally, Postelmans said that she just wanted to go to the hotel, and she tried to promise she would
return in a few days, if he would just let her go. Vallevik still would not let Postelmans leave, and then
Postelmans tried to talk sense into Vallevik that the other dancers were going to be coming home soon
and would be arriving back at the house and would see Postelmans fighting with Vallevik trying to leave.
Realizing this could very well happen, Vallevik finally agreed to let Postelmans leave, but only if she let
him drive her because he wanted to know where she was at. Postelmans did not want Vallevik to know
where she was at but had no choice to agree to Vallevik’s demands if she wanted to be set free,
although Postelmans did not feel safe.

Vallevik and Postelmans then got into Vallevik’s car and he proceeded to drive to the Vegas Motel and
Vallevik stated he would take her there. Postelmans not feeling safe at all at that location, Postelmans
did refuse to go to the Vegas Motel and the fact that it is not far enough away from Vallevik’s home, and
Postelmans was afraid Vallevik would come back to get her.

Vallevik asked where Postelmans wanted to go, and she thought about the farthest out hotel she could
think of and feel safe, and she told Vallevik that she wanted to go the Brooks Hotel.
Case 1:24-cv-00252-DMT-CRH Document1_ Filed 08/30/21 Page 10 of 14

Once at the Brooks Hotel Postelmans jumped immediately out the vehicle and proceeded to rush into
the building with her bag. Postelmans preceded to the front desk and there was a lady working.
Postelmans told her that she wanted a room for two nights as Postelmans knew she was not going to be
returning to Vallevik’s.

The front desk Clerk, realized by looking at Postelmans that she was upset and asked Postelmans if she
wanted to go outside and smoke. Postelmans not smoking for almost 7 years wanted a cigarette after
what she had been through and said sure.

The lady and Postelmans exited the hotel only to find Vallevik still sitting in his car in the parking lot of
the hotel and not leaving.

Postelmans sat on the bench with the lady and was upset Vallevik was still there but felt safe with the
lady standing there and she knew the hotel had cameras if Vallevik tried to do anything. The clerk asked
Postelmans if she should call the police. In retrospect Postelmans wishes she had told her to call them,
but Postelmans was scared and didn’t know what to do, because she knew she had no money and if she
had called the police, she wouldn’t be able to work to make the money she needed to get back home,
and Postelmans did not have a plan, and knew eventually Vallevik would leave with people around.
Postelmans had hoped with someone outside with her that Vallevik would just get the picture and leave.
It wasn’t until a male hotel employee at the Brooks, came out of the hotel and stood by the clerk and
Postelmans that finally Vallevik left.

The next day Postelmans had been in contact with Adam Koenig (Koenig) who told her she should
contact Vallevik about what had happened. Postelmans reluctant to do so, did. Postelmans sent a text to
Vallevik saying they needed to talk. Vallevik responded with a text that, he would later when he got
done working on Thorpe’s garage. Eventually Vallevik and Postelmans ended up speaking over a phone
call in which Vallevik told Postelmans that ‘they were drunk and that ‘it’ happened, that they
(Postelmans and Vallevik) were having fun and that Postelmans was a pretty girl. That they would get
over this happening and as he nervously laughed said he would take Postelmans on more bike rides.’

Postelmans responded back that, ‘she knew they had a few drinks. That she did not think this was funny
and that she had a problem with all of this, and she was not okay with it.’

Postelmans would eventually go on to inform Whispers’ management who set up a meeting for
Postelmans, that it would be between the manager, John Hinton (Hinton), assistant manager, Jeffrey
Dick (Dick), co-owner of Whispers, Grace Delling (Delling), co-owner of Whispers, Thorpe, co-owner of
Whispers and brother to Vallevik, Dan Vallevik (Dan), without Vallevik being made aware of the meeting
so that Postelmans could inform everyone what had happened.

Upon arrival at the meeting, Postelmans discovered Hinton, Dick, and Delling would be joining her.
Delling would inform Dan and Thorpe later. During the meeting, Postelmans would go on to tell them
what had transpired between Vallevik and Postelmans. Postelmans was informed by Delling and, once
again from the night before, that Hinton had mentioned to her, that Whispers and its co-owners had
problems with Vallevik in the past being in appropriate with the dancers but would not elaborate
further. It was during this meeting that it was agreed upon that Vallevik would be kept away from the
club, and that Postelmans could continue to work, while they figured out what to do regarding the
situation. It was also set up for Postelmans to be housed in the other dancer house Whispers kept for
Case 1:24-cv-00252-DMT-CRH Document1_ Filed 08/30/21 Page 11of 14

dancers in, over at Thorpe’s place, and Delling would inform the other co-owners of Whispers what was
going on.

After the meeting, Hinton and Dick, escorted Postelmans back over to Vallevik’s dancer house to
retrieve her belongings. Upon entering Postelmans went straight to her top floor bedroom and collected
all her stuff along with all her stuff from the bathroom on the same floor. Then she left.

In the following days, Thorpe handed Postelmans a letter he was given written by Vallevik address to
her. Along with a sweater that belonged to Postelmans that she had worn the night this all occurred,
that was not in Postel mans room when she picked up her other belongings.

Thorpe also proceeded to inform Postelmans that Vallevik upon speaking with Delling had admitted to
her that he ‘tried to f—k Postelmans, but he had told Delling he couldn’t get it up because of booze,
medication, and age, but that Vallevik had stated he ‘wanted to f—k Postelmans’. Thorpe went on to
state that they have had problems with Vallevik in the past but would not elaborate on what.

Upon receiving the letter written to her from Vallevik, Postelmans read it in which Vallevik stated in it
his version of events. !n Vallevik’s letter he wrote Postelmans, that when they were downstairs in
apparently Vallevik’s bedroom ‘we messed around for a few seconds.’ In the letter Vallevik refers to
Postelmans and him going up stair and him ‘putting his finger in’ Postelmans’ vagina. Vallevik
acknowledges that Postelmans was crying and had stated she ‘wanted to leave.’ Vallevik than goes on to
state, “1 walked you to gas station and got you a juice and back to house. When we got back you wanted
to go to a motel so | drove you there. You told Grace | wouldn’t leave the motel but that was only till |
knew they had a room for you. | left as soon as you told me you got a room.”

Also in the letter Vallevik wrote to Postelmans, ‘| didn’t want you to leave the only reason for that was |
did not want you to drive drunk.’

Upon reading the letter, Postelmans knew Vallevik’s letter clearly did not recall the events that
Postelmans knew to be true. Vallevik stated he took Postelmans to the gas station, so Postelmans
decided to drive over to the Tesoro gas station by Vallevik’s home, which is the only gas station in
walking distance or that was open at that time of the night when the event occurred and proceeded to
speak with the manager. Postelmans asked the manager to please go back to the time and date of when
Postelmans and Vallevik where at The Shop going all the way to the time Postelmans had been checked
into the Brooks Hotel, and to please watch during that whole frame of time to see if Postelmans had
ever been at the gas station. The manager agreed to and proceeded to view the Tesoro gas station video
of that timeframe of which is when Vallevik raped Postelmans and stated he had walked Postelmans up
there. After reviewing the video surveillance that manager came back out and told Postelmans that no
she had not been there, inside or outside, of the Tesoro gas station on that night or during those times.

Postelmans eventually had enough of nobody doing anything about Vallevik and decided to make a
police report. Postelmans left Thorpe’s dancer house. After making a police report, Postelmans filed also
for a Protection Order against Vallevik.

During the protection hearing while sworn in under oath stated the following:

“ she stood up by the massage table which one girl gives the massages on the side. | walked- |
stood up behind her. | was just standing behind her. | never, ever penetrated her, Your Honor.
Case 1:24-cv-00252-DMT-CRH Document1_ Filed 08/30/21 Page 12 of 14

And then she did that. | stood by her for a while. She kind of gave me a hug, | gave her a hug.
She walked out the stairs, up the stairs and said come up stairs.”

“She was telling me, you put your finger in me. Will you go down on me? And then | had my face
down there and all of a sudden she started crying.”

“.. it pinched the skin on my private parts and made it bleed. That’s when she started crying.”
“| said | can’t let you leave when you’re upset, that’s when you get in a wreck.”

“she said, well | want to get some tea, so we walked up—she says she don’t remember this.
We walked up to the gas station across. She sat out on the step outside. | went in and got a tea,”

“all she said was oh no—it’s sugar tea, | wanted unsweetened.”
*(In Vallevik’s letter to Postelmans it was a juice.)

“| went and testified to the policeman. | told the policeman this story because she was going to
tell them what to do. | just said | will take a lie detector test on what | just told you, and that was
the end of the story.”

Postelmans was allowed to question Vallevik in court under oath and here are some of the following:
By Ms. Postelmans:

Q. Did | or Did | not try to run away from you and you blocked me?

A. Only after you started crying. This is when | said you could not drive.

Q. Do you remember me locking myself in my room?

A. After all this was done, you went in your room and | didn’t know you locked the door because | never
went to check. Then you come back out and said you wanted to leave.

Q. | argued, do you remember me arguing with you?

A. yes, and | said | would take you anywhere but | would not let you drive...
Q. Did | ever tell you | was going to drive?

A. Well, if you’re leaving, your car was sitting outside the door.

Q. So you presumed | was driving?

A. Yes

Q. And you weren’t letting me leave, correct?

A. Correct, not until | give you the ride.

Q. Oren, do you know me to be a big drinker?

A. No, you’re not a big drinker.

Q. Did | drink that night?
Case 1:24-cv-00252-DMT-CRH Document1_ Filed 08/30/21 Page 13 of 14

A. Yes, you did.

Q. And you knew | was not in my normal state of mind, correct?

A. | didn’t think you had that many because we stopped at each place once and had a drink.

Q. So you knew with us drinking that night that | had more than | usually do, correct?

A. Yeah more than you normally every nightly do, yes.

Q. So, could that be an altered state more than | normally am?

A. Possibly, yeah.

During the protection hearing Postelmans also questioned Vallevik’s employee, Jeffrey Dick, under oath:
Q. All right, what do you do at Whispers?

A. 1am a bouncer, door guy/assistant manager

Q. So, when you left and you went back to the Brooks Hotel with me to escort me back there, you came
across the clerk there, correct?

A. Correct
Q. What did the clerk tell you?

A. The clerk told me that you were hysterical last night and that she—it took her a long time to calm you
down, that you were very frightened, and she was basically very concerned for you.

Q. And did we go and talk with John Hinton (manager of Whispers)?
A. Yes, we did.
Q. And what did John Hinton say that night?

A. John Hinton said that he would talk to Grace and try to set up a meeting with her. He also said that
they have had problems in the past with Oren when it comes to the girls. He wasn’t specific about what
he said or anything like that. He just stated that they have had problems in the past with that, about
being too close to the girls.

Q. And who was there at that meeting?
A. | was there, John Hinton was there, you were there, and Grace was there.

Q. Okay. in that meeting, can you tell the judge, or His Honor, and the courtroom what happened in that
meeting?

A. You described what happened to you to Grace. Grace apologized for that happening. She stated that
she—until further notice she would keep Oren out of the club and away from you. And she set up a
residence for you at John Thorpe’s house so you would not have to be near Oren. She also stated that
they have had problems with Oren being too close to the girls in the past, and she apologized to you for
what happened. And that she appreciated you talking to her about this.
Case 1:24-cv-00252-DMT-CRH Document1_ Filed 08/30/21 Page 14 of 14

The protection order was granted to Postelmans against Vallevik on, September 8", 2015, by Judge Paul
W. Jacobson in District Court, on the Judge’s belief that he had heard enough to determine that there
was probable cause for what would be domestic violence or what would be sexual assault otherwise.

In Vallevik’s letter to Postelmans, he had stated that she was too drunk to drive and that is why he had
to drive her. In Vallevik’s testimony under oath, he stated that Postelmans was not in a state to drive
because she was crying. Under oath Vallevik stated that he did not think Postelmans had that many
because they only stopped and had a drink at each place. He also admitted under oath that Postelmans
had drank more than she usually normally does, and yes it was possible she was in an altered state
mentally. Vallevik’s letter that he gave Postelmans versus his testimony under oath differs from each
other. If Postelmans was drunk as he had stated in his letter to her, then Postelmans could not give
consent. If Postelmans, like Vallevik stated under oath, that she did not drink that much, but drank much
more than she normally did and she could have been in an altered mental state, then Postelmans could
not give consent.

Plaintiff is suing for sexual assault and rape by defendant as she was not mental capable of giving
consent, as defendant penetrated defendant by use of his digits and genitalia, and fondle and
performed oral sex upon her against her will or consent. Plaintiff repeatedly told defendant to stop by
saying no, and defendant used force upon plaintiff to go against her will.

Plaintiff is suing defendant for negligent behavior; defendant had a duty to the plaintiff to protect her as
plaintiff had paid $200 per week to stay in the house and be protected by the defendant.

Plaintiff is suing for confinement against her will as she had tried to escape multiple times and was held
there against her will stating she wanted to leave.

Plaintiff is suing defendant for pain, suffering, emotional and mental suffering as she was diagnosed
with PTSD and anxiety. Plaintiff has had to endure endless intrusive thoughts and flashbacks 1-3 times a
day if not more, every single day since this incident has occurred. She has a problem with trust, or
finding herself doing poorly in unfamiliar situations, Plaintiff has self-isolated found herself beginning to
withdraw from society and ended up not coming out of her residence for a year and half after the
incident only to finally be forced to do so when her mother suffered a medical emergency and ended up
on full life support, but still to this day continues to self-isolate a vast majority of the time. Plaintiff
mistrust people, and is constantly on edge and easily startled, plaintiff is anxious, and has suffered
weight gain, disturbance in sleep patterns. Plaintiff has disconnected from loved ones and family and
lost interest in pleasurable activities. These are all things that Plaintiff has had to deal with since this
occurred, continues incur and deal with on a daily basis, and will have to deal! with this for the rest of her
natural life.

Plaintiff lost wages, property, investments, and abilities to function, and the ability to enjoy life as she
once had before this incident.
